Case 2:03-cV-02261-.]DB Document 44 Filed 07/19/05 Page 1 of 2_ Page|D 57

 

 

FlLED ss mt ____. D.c.
UNITED sTATEs DlsTRlCT COURT 05 JUL 19 PH 2= 27
WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION MO?¢J»,S tt GOULD
CLE§K_ its amici mem
W/U U_b :;»t, i-l¢-"_;'*’,YH‘£S
CHRISToPHER sAWYE}L *
*
Plaimiff, *
>l=
v. * Case No. 03-2261-B/V
* Consolidated Cases
CITY oF MEMPHIS, et al., *
*
Def`endants. *
oRDER CoNTlNUING CASE

 

This cause came on to be heard upon the Plaintif`fs’ Motion for Continuance filed
herein, and it appears to the Court, after having reviewed the record herein and having
considered the AHidavit of R. Linley Richter, Jr., offered in support of the Motion, that
there is no opposition to the continuance of the trial of this matter and the Motion is well
taken.

Accordingly, the trial of this matter, currently Set for September 12, 2005 is
continued and the proceedings in this matter are stayed until such time as a status
conference can be held.

IT ls so oRDERED this l ‘li‘day OfJ 2005_

- D L BREEN \
UNI D sTATEs DISTRICT IUDGE
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with Ftule 58 and!or 79(3) FRCP on l § (B

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02261 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

R. Linley Richter

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. Main St.

Ste. 2909

l\/lemphis7 TN 38103

.1 ean l\/larkowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

l\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

.1 ohrmy Quitman Rasberry

LAW OFFICE OF JOHNNY RASBERRY
100 N. Main St.

Ste. 2909

l\/lemphis7 TN 38103

Thornas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/lemphis7 TN 38122--372

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

